Case 3:18-cv-03256-FLW-LHG Document 10 Filed 02/12/18 Page 1 of 2 PageID: 626



                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

 CAROLYN CHILES-PATT,                             )
                                                  )
              P laintiff,                         ) C ase N o.:1:17 -cv-0 27 16-RC
                                                  )
  v.                                              ) H on.Ru d olphC ontreras
                                                  )
 JOHNSON & JOHNSON, et al.,                       )
                                                  )
              D efend ants.                       )
                                                  )

                                   CERTIFICATE RULE LCvR 7.1

I,the u nd ersigned ,cou nselof record forJOHNSON & JOHNSON CONSUMER INC. certify

thatto the bestof my knowled ge and belief,the followingare parentcompanies,su bsid iaries or

affiliates of JOHNSON & JOHNSON CONSUMER INC. which have any ou tstand ing

secu rities in the hand s of the pu blic:

J
O H N SO N & J
             O H N SO N

These representations are mad e in ord er thatju d ges of this cou rtmay d etermine the need for

recu sal.

D ated :Febru ary 12,20 18                         Respectfu lly su bmitted ,

                                                   SH O O K,H A RD Y & B A C O N ,L .L .P .

                                                   /s/John C .C oots
                                                   M ichelle R.M angru m (B arN o.47 3634)
                                                   John C had wickC oots (B arN o.46197 9)
                                                   1155 F Street,N .W .,Su ite 20 0
                                                   W ashington,D .C .20 0 0 4
                                                   Telephone:(20 2)7 8 3-8 40 0
                                                   Facsimile:(20 2)7 8 3-4211
                                                   mmangru m@ shb.com
                                                   jcoots@ shb.com




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                                                        Attorneys for Defendants Johnson &
                                                        Johnson and Johnson & Johnson Consumer
                                                        Inc.


                                 CERTIFICATE OF SERVICE

        I hereby certify thaton Febru ary 12,20 18 ,a tru e and accu rate copy of the foregoing
d ocu mentwas filed electronically withthe C lerkof C ou rtu singthe C M /E C F system,whichsent
notification of su chfilingto allcou nselof record .

 M ichelle A .P arfitt                                Ju liaW hitelock
 James F.Green                                        GO RD O N & RE E S,L L P
 A SH C RA FT & GE RE L ,L L P                        130 0 IStreet,N W ,Su ite 8 25
 490 0 Seminary Rd .,Su ite 650                       W ashington,D .C .20 0 0 5
 A lex and ria,V A 22311                              Telephone:(20 2)37 2-90 7 6
 Telephone:(7 0 3)931-550 0                           E mail:jwhitelock@ gord onrees.com
 E mail:mparfitt@ ashcraftlaw.com
 E mail:jgreen@ ashcraftlaw.com                       Attorneys for Defendant Imerys Talc America
                                                      f/k/a Luzenac America, Inc.
 Attorneys for Plaintiff


        Ifu rthercertify thaton Febru ary 12,20 18 ,atru e and accu rate copy of the foregoing
d ocu mentwas served by first-class U.S.M ail,postage prepaid ,to the following:

 P .L eighO ’D ell                                    Thomas T.L ocke
 B E A SL E Y ,A L L E N ,C RO W ,M E TH V IN ,       SE Y FA RTH SH A W L L P
 P O RTIS & M IL E S,P C                              97 5 F StreetN W
 P ostO ffice B ox 4160                               W ashington,D C 20 0 0 4
 M ontgomery,A L 3610 3                               Telephone:(20 2)463-240 0
 Telephone (334)269-2343                              Facsimile:(20 2)641-918 7
 leigh.od ell@ beasleyallen.com                       E mail:tlocke@ seyfarth.com

 Attorneys for Plaintiff                              Attorneys for Personal Care Products
                                                      Council


                                                  /s/John C .C oots
                                                    Attorney for Defendants Johnson & Johnson
                                                     and Johnson & Johnson Consumer Inc.




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